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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

UNITED STATES OF AMERICA,

gs Case: 1:24-cr-20219
Plaintiff, Assigned To : Ludington, Thomas L.

v. Referral Judge: Morris, Patricia T.
Assign. Date : 4/24/2024

BRANDI LYNN FREEMAN,
a.k.a. Brandi Lynn Sian,

Defendant.

INDICTMENT

THE GRAND JURY CHARGES:
COUNT ONE:

Distribution of Fentanyl
(21 U.S.C. § 841(a)(1))

On or about November 2, 2023, in the Eastern District of Michigan, Brandi
Lynn Freeman, a.k.a. Brandi Lynn Sian, knowingly and intentionally distributed a
mixture or substance containing a detectable amount of fentanyl, a Schedule II

controlled substance, in violation of Title 21, United States Code, section

841 (a)(1).

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COUNT TWO:
Distribution of Fentanyl
(21 U.S.C. § 841(a)(1))

On or about November 30, 2023, in the Eastern District of Michigan, Brandi
Lynn Freeman, a.k.a. Brandi Lynn Sian, knowingly and intentionally distributed a
mixture or substance containing a detectable amount of fentanyl, a Schedule II
controlled substance, in violation of Title 21, United States Code, section
841(a)(1).
COUNT THREE:

Distribution of Fentanyl
(21 U.S.C. § 841(a)(1))

On or about January 18, 2024, in the Eastern District of Michigan, Brandi
Lynn Freeman, a.k.a. Brandi Lynn Sian, knowingly and intentionally distributed a
mixture or substance containing a detectable amount of fentanyl], a Schedule II
controlled substance, in violation of Title 21, United States Code, section
841(a)(1).
COUNT FOUR:

Distribution of Cocaine Base
(21 U.S.C. § 841(a)(1))

On or about January 18, 2024, in the Eastern District of Michigan, Brandi
Lynn Freeman, a.k.a. Brandi Lynn Sian, knowingly and intentionally distributed a
mixture or substance containing a detectable amount of cocaine base, a Schedule II
controlled substance, in violation of Title 21, United States Code, section
841 (a)(1).

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FORFEITURE ALLEGATION

Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides notice to
the defendant of its intention to seek forfeiture of all proceeds, direct or indirect, or
property traceable thereto, all property that facilitated the commission of the
violations alleged, or property traceable thereto, and all property involved in, or

property traceable thereto, of the violations set for in this.

Substitute Assets: Ifthe property described above as being subject to

forfeiture, as a result of any act or omission of Defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;
c. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461 (c).

Dated: April 24, 2024 THIS IS A TRUE BILL

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

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DAWN N. ISON
United States Attorney

s/Anthony P. Vance s/Roy R. Kranz
ANTHONY P. VANCE ROY R. KRANZ
Assistant United States Attorney Assistant U.S. Attorney
Chief, Branch Offices 10] First Street, Suite 200

Bay City, Michigan 48708-5747
(989) 895-5712
Roy.Kranz(@usdo}j.gov
(P56903)

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. Case 1:24-cr-20219-TLL-PTM ECF No. 1, PagelD.5 Filed 04/24/24 Page5of5

Companion Case information MUST be completed by AUSA and initialed

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
0 Yes X No AUSA’s Initials: 42. C-

Case Title: USA v. Brandi Lynn Freeman, a.k.a. Brandi Lynn Sian

County where offense occurred: Isabella

Check One: X Felony 1 Misdemeanor U Petty

X_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon pricr complaint [Case number:]
Indictment/ Information --- based upon LCrR §7.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:
O Corrects errors; no additional charges or defendants.
O Involves, for plea purposes, different charges or adds counts.
O Embraces same subject matter but adds the additional defendants or charges below:
Defendant name Charges Prior Complaint (if applicable)

Piease take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

s/Roy R. Kranz
Date: April 24, 2024 Roy R. Kranz
Assistant United States Attorney
101 First Street, Suite 200, Bay City, M! 48708
Phone: 989-895-5712
Fax: 989-895-5790
E-Mail address: Roy.kranz@usdoj.gov
Attorney Bar #: P56903

1 Companion cases are matters in which it appears that (1) substantially similar evidence will de offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
